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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION


UNITED STATES OF AMERICA,                     )       CASE No.: 4:11CR573 (Defendant #9)
                                              )
                Plaintiff,                    )       JUDGE BENITA Y. PEARSON
                                              )       Magistrate Judge George J. Limbert
        v.                                    )
                                              )
KELVAN ELKINS,                                )       REPORT AND RECOMMENDATION
                                              )       OF MAGISTRATE JUDGE
                                              )
                Defendant.                    )


        Pursuant to General Order 99-49, this case was referred to United States Magistrate Judge

George J. Limbert for the purposes of receiving, on consent of the parties, Defendant’s offer of a

plea of guilty, conducting the colloquy prescribed by Fed. R. Crim. P. 11, causing a verbatim record

of the proceedings to be prepared, referring the matter for presentence investigation, and submitting

a Magistrate Judge’s Report and Recommendation stating whether the plea should be accepted and

a finding of guilty entered. The following, along with the transcript or other record of the

proceedings submitted herewith, constitutes the Magistrate Judge’s Report and Recommendation

concerning the plea of guilty proffered by Defendant.

       1.      On May 29, 2012, Defendant Kelvan Elkins, accompanied by Attorney Neal G.

Atway executed a consent to referral of his case to a United States Magistrate Judge for the purpose

of receiving his guilty plea.
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         2.     Defendant Elkins then proffered a plea of guilty to Counts 1, 30, and 90 as charged

in the Indictment.

         3.     Prior to such proffer, Defendant Elkins was examined as to his competency, advised

of the charges and consequences of conviction, informed that the Court is not bound to apply the

Federal Sentencing Guidelines but must consult the guidelines and take them into consideration

when it imposes the sentence and of the possibility of a departure from the Guidelines, notified of

his rights, advised that he was waiving all of his rights except the right to counsel, and, if such were

the case, his right to appeal, and otherwise provided with the information prescribed in Fed. Crim.

R. 11.          4.      The undersigned was advised that a written plea agreement existed between

the parties, and no other commitments or promises have been made by any party, and no other

written or unwritten agreements have been made between the parties.

         5.     The undersigned questioned Defendant Elkins under oath about the knowing,

intelligent and voluntary nature of the plea of guilty, and the undersigned believes that Defendant

Elkins’ plea was offered knowingly, intelligently, and voluntarily.

         6.     The parties provided the undersigned with sufficient information about the charged

offenses and Defendant Elkins’ conduct to establish a factual basis for the plea.

         In light of the foregoing, and the record submitted herewith, the undersigned concludes that

Defendant Elkins’ plea was knowing, intelligent, and voluntary and all requirements imposed by the

United States Constitution and Fed. R. Crim. P. 11 have been satisfied.




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       Accordingly, the undersigned recommends that the plea of guilty be accepted and a finding

of guilty be entered by the Court as to the charges in Counts 1, 30 and 90 of the Indictment.


Date: May 30, 2012                                    /s/George J. Limbert
                                                      George J. Limbert
                                                      United States Magistrate Judge

ANY OBJECTIONS to this Report and Recommendation must be filed with the Clerk of Court
within fourteen (14) days of service of this notice. Fed. R. Crim. P. 59. Failure to file objections
within the specified time constitutes a WAIVER of the right to appeal the Magistrate Judge’s
recommendation. Id.




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